                    Case 1:20-cv-03010-APM Document 399 Filed 10/12/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                         District of Columbia


  United States of America, et al.                                )
                             Plaintiff                            )
                                v.                                )      Case No.   1:20-cv-03010
  Google, LLC                   .                                 )
                            Defendant                             )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          State of Arkansas                                                                                               .


Date:     10/12/2022
                                                                                           Attorney’s signature


                                                                                    David A.F. McCoy, AR2006100
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